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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  CIRCLE CITY BROADCASTING I, LLC, )
                                   )
             Plaintiff,            )
                                   )
        v.                         )                  CASE NO. 1:20-cv-00750-TWP-TAB
                                   )
  DISH NETWORK, LLC,               )
                                   )
             Defendant.            )

    OPPOSITION TO DISH REQUEST TO REDACT SUMMARY JUDGMENT ENTRY

         “Secrecy in judicial proceedings . . . is disfavored. Secrecy makes it difficult for the

  public (including the bar) to understand the grounds and motivations of a decision, why the case

  was brought (and fought), and what exactly was at stake in it.” Mueller v. Raemisch, 740 F.3d

  1128, 1135-36 (7th Cir. 2014) (cleaned up).

         In a recent filing, DISH Network, L.L.C. (“DISH”) subordinates this principle to its own

  self-interest. DISH is asking the Court to remove from public view information that forms the

  basis of the Court’s March 31, 2023 summary judgment entry. (See ECF No. 215, ECF No. 216.)

  Specifically, DISH wants the Court to seal 17 words that DISH contends relate to information

  that “is highly sensitive and accordingly guarded, particularly given the risk of competitive harm

  that disclosing such information presents in the competitive retransmission-consent industry.”

  (ECF No. 216 at 3.) Because the information conveyed in the “17 words” is a basis for the

  Court’s decision, is only a general description of information, has already been publicly reported

  by the media, and is essentially reflected in the same general terms in Circle City’s publicly

  available amended complaint, DISH’s motion should be denied.

         Circle City’s amended complaint says this:
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  ECF No. 19 at ¶¶ 24-25.

         Circle City’s amended complaint is not under seal and the 17-word clause in the Court’s

  summary judgment entry that DISH wants to seal largely restates these two paragraphs.

  Morevoer, Nexttv’s online journal, Broadcasting+Cable, in reporting on the Court’s sumary

  judgment decision wrote that DISH “had been offering zero dollars for retransmission and made

  a last-minute offer that amounted to only pennies per subscriber that was rejected by Circle

  City.” DISH’s motion to conceal this information from the public does not mention the

  allegations in Circle City’s amended complaint or this public report of the Court’s decision.

         Regardless, DISH’s request to redact these 17 words runs afoul of the Seventh Circuit’s

  directives concerning the propriety of removing information from the federal courts’ public

  dockets. “[T]he public at large pays for the courts”; it therefore “has an interest in what goes on

  at all stages of judicial proceeding.” Citizens First Nat. Bank v. Cincinnati Ins. Co., 178 F.3d




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  943, 945 (7th Cir. 1999). “Secrecy is fine at the discovery stage, before the material enters the

  judicial record.” Baxter Int’l, Inc. v. Abbott Labs., 297 F.3d 544, 545 (7th Cir. 2002). There is,

  however, a “strong presumption of public disclosure” of the information “that formed the basis

  of the parties’ dispute and the district court’s resolution.” Id. at 548. As the Seventh Circuit

  wrote in an actual trade secrets case (this is a discrimination case), “Litigation about trade secrets

  regularly is conducted in public; the district court seals only the secrets (and writes an opinion

  omitting secret details).” Union Oil Co. v. Leavell, 220 F.3d 562, 567 (7th Cir. 2000) (emphasis

  original). As the court noted, even the briefs “in the Pentagon Papers case were available to the

  press, although sealed appendices discussed in detail the documents for which protection was

  sought.” Id. (cleaned up).

         In the summary judgment filings in this case, the parties discussed in their redacted briefs

  and sealed appendices the specific negotiations between the parties and the back-and-forth of the

  offers. The 17 words in the Court’s order DISH wants sealed do not contain those specific facts.

  See id. Instead, the Court wrote its summary judgment opinion in a way that omitted the “secret

  details.” Id. Because the Court had to address the evidence and publicly explain the basis of its

  decision (Baxter, 297 F.3d at 548), it did so in general terms to preserve the specific information

  DISH wanted kept from public view. Nothing merits DISH’s request to remove from the public

  arena the basis for the Court’s decision. Union Oil, 220 F.3d at 567.

         None of the authority cited in DISH’s brief supports hiding from public view the basis of

  the Court’s decision. The motion referenced in the Genesys case represents that the information

  subject to the redaction request “is not material to the Court’s Entry.” (ECF No. 216 at 4, citing

  Genesys Cloud Serv., Inc. v. Talktek, Inc., 1:19-cv-00695-TWP-MKK ECF No. 350.) That is the

  opposite of the language DISH seeks to seal here. The information sealed in the Benton County




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  Wind Farm case was the specific contract pricing and bid prices at issue in the case, not a general

  description of the information, which is the case here. See Benton Cty Wind Farm LLC v. Duke

  Energy Indiana, Inc., 1:13-cv-01984-SEB-TAB, 2015 WL 12559884, * 1 (S.D. Ind. Aug. 26,

  2015). The rest of the cases cited in DISH’s argument deal with defining trade secrets, not

  sealing portions of dispositive orders that generally describe the parties’ contentions. See ECF

  No. 216 at 4 and cases cited. They offer no guidance to the resolution of DISH’s motion.

         As DISH noted at the conclusion of its brief in support of its request to remove

  information from the public record, Circle City opposes the request. Although Circle City lost

  the summary judgment motion, it is ultimately a media company. It believes in the First

  Amendment. It believes that the basis for a public body’s decision should be available to the

  public. DISH’s request to conceal from public view should be denied.

                                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on April 6, 2023, a copy of the foregoing was filed electronically.

  Notice of this filing will be sent to the following parties by operation of the Court’s electronic

  filing system. Parties may access this filing through the Court’s system.

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